                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                           )
                     Plaintiff,                     )
vs.                                                 )      CASE NO. DNCW3:01CR183-3-T
                                                    )
JOHN WILSON LOCKE,                                  )
                               Defendant.           )
and                                                 )
                                                    )
ALL POINTS WASTE SERVICES, INC.,                    )
                      Garnishee.                    )

               DISMISSAL OF WRIT OF CONTINUING GARNISHMENT

        Upon motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Writ of Continuing Garnishment filed December 22, 2010, (Docket No.

135), in this case against the defendant, John Wilson Locke, is DISMISSED.



                                                Signed: November 1, 2011




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